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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE




 BAYLEY’S CAMPGROUND, INC.,                   )
 Cumberland County, State of Maine            )
 and                                          )
 FKT RESORT MANAGEMENT, LLC,                  )
 et al.                                       )
                                              )
                        Plaintiff             )
                                              )     Civil Action Docket No. ________________
 v.                                           )
                                              )
 GOVERNOR JANET MILLS, in her                 )
 capacity as the Governor of State of         )
 Maine                                        )
                                              )
                        Defendant             )



                              DECLARATION OF CURTIS BONNELL

       Pursuant to 28 U.S.C. § 1746, I declare under penalties of perjury under the laws of the

United States of America that the foregoing declaration is true and correct to the best of my

knowledge and belief and that such facts are made based on my personal knowledge.

       I, Curtis Bonnell, being duly sworn, do depose and say as follows:

       1.      I am a resident of Salem, New Hampshire.

       2.      I make this affidavit based on my personal knowledge of the facts stated herein.

       3.      For the past four camping seasons, my wife and I have been seasonal campers at

Bayley’s Camping Resort in Scarborough, Maine.

       4.      Generally, we make use of our seasonal campsite on weekends throughout the

camping season.
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       5.        I am aware that the State of Maine has imposed a 14-day quarantine requirement

on any individuals traveling to the State of Maine for any purpose.

       6.        Both my wife and I have contracted and recovered from the COVID-19 disease.

It is my understanding that this substantially lowers or eliminates the risk of recontracting the

disease.

       7.        Since we are both low risk or immune based on what medical doctors are

reporting, the quarantine period should not apply to us.

       8.        However, I am informed that Maine imposes a criminal penalty for violation of

the Governor’s quarantine order. When my wife and I visit our campsite, I reasonably fear

prosecution if we do not observe the 14-day quarantine requirement.

       9.        I understand the Executive Order does not provide a process to be heard or

present evidence to establish they should either be exempted or not subject to prosecution.

       10.       It is my understanding that quarantine requires the person remain at home, not

interact with others, and precludes, among other activities, engaging in commerce.

       11.       The 14-day quarantine requirement is being actively enforced by law enforcement

with the threat of criminal penalties.

       12.       The Governor’s Executive Order requiring quarantine does not provide due

process for me to challenge or appeal any enforcement action taken against me if I elect not to

quarantine upon my return to Maine.

       13.       There is no notice and no opportunity for an individual to be heard if ordered or

required to be quarantined or prosecuted for failure to comply, and there is no right to appeal this

determination.
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         14.    The 14-day quarantine is required regardless of whether: (i) any Plaintiff has

contracted the disease; (ii) there is any particular assessment of the likelihood of contracting the

disease from the activity in question; and (iii) any Plaintiffs took the CDC recommended safety

precautions so as to make their contracting the disease unlikely.

         15.    My wife and I will not travel to Maine to use our seasonal camper since we are

required to observe a 14-day quarantine period. A 14-day quarantine period totally eliminates

our ability to use our seasonal site on weekends as we have done the past 4 years.

         16.    If not subject to the 14-day quarantine, I would travel to Maine to use our

seasonal camper.

         17.    I would travel and stay at our seasonal camper observing social distancing and

CDC guidance and recommendations.

         18.    It is my understanding that quarantine requires the person remain at home, not

interact with others, and precludes, among other activities, engaging in commerce.

         Pursuant to 28 U.S.C. § 1746, I declare under penalties of perjury under the laws of the

United States of America that the foregoing declaration is true and correct to the best of my

knowledge and belief and that such facts are made based on my personal knowledge.


Dated:    May 14, 2020                                /s/ Curtis Bonnell
                                                      Curtis Bonnell
